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                        Exhibit B




 Dallas 236329v1
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  From:           Brad Caldwell
  To:             Post, Kevin; smartflash@caldwellcc.com
  Cc:             Apple/SmartFlash Service; ema@emafirm.com; apple@emafirm.com; F&RCounsel-KingsIsle@fr.com;
                  F&RCounsel-GameCircus@fr.com; bkohm@fenwick.com; tcorbin@fenwick.com; SmartFlash QE Team
                  (SmartFlashQETeam@quinnemanuel.com); mikejones@potterminton.com; allengardner@potterminton.com;
                  HTC-Smartflash-Service@perkinscoie.com
  Subject:        Re: Smartflash: Request for Extension and Claim Limitation Proposal
  Date:           Wednesday, November 06, 2013 12:11:37 PM


  Kevin:

  We reviewed what you circulated. Are you suggesting that the limits apply separately to
  each case, such that, for example, Apple could assert 20 prior art references on a given
  patent and, say, Samsung could assert 20 different references in its case for that same
  patent?

  Regardless of the answer to that, what is the reasoning behind the much larger number of
  prior art references-per-patent than what we discussed last week? The proposal you have
  circulated is drastically out of line with the limits that are contemplated by the model order.
  Last week, the defendants said they were envisioning claim and prior art limits in line with
  the model order, which approximates parity between the parties. But now defendants have
  proposed something drastically one-sided that (a) spreads the plaintiffs' claims thin to the
  benefit of defendants, but nevertheless (b) multiplies the number of prior art references that
  can be asserted, also to the benefit of the defendants. This fails to accomplish the very
  purpose of the model order, which is to make litigation more efficient for all parties and the
  court.

  As I mentioned last week, we wouldn't agree now to any proposal that put us down to a
  total of 5 claims-per-patent across multiple defendants at some later point in the case. As
  we discussed, we typically drop claims organically as we are able to see what issues and
  parties remain for trial. If there is going to be an agreement in place for a final reduction,
  we think that it makes more sense to discuss that when we all have a better sense how
  things are going to unfold in the case. Also, as folks know if they happened to attend the
  pertinent session of the EDTX Bench-Bar conference last week, the limits in the model order
  were not intended to govern multi-defendant cases and multi-defendant cases will require
  customization if the Model Order is in play at all. If agreement on a later reduction to 5 is a
  make-or-break point for you for reaching agreement on other issues in the near term, please
  let us know now because we will not be able to reach an agreement at this stage of the case.

  We would be willing to reach an agreement now that limits (a) us to 10 claims per patent,
  up to a total of 50, and (b) defendants (collectively across the actions) to 12 references per
  patent, up to a total of 60. Please let me know defendants' position on this proposal today.

  At the end of our call last week, we asked for a 2 week extension on infringement
  contentions (offering a matching extension on defendants' contentions) because, in part, it
  seemed on the call that we were going to be able to reach an agreement in line with the
  model order's limitations and still have time to think through our selections. If we are not
  going to be able to reach an agreement, we would like to know now so we can file a motion
  with the court before Monday securing just a 2-week extension. On the other hand, if
  defendants still want to pursue an agreement we would like to to hammer it out right away.
  If there is a protracted negotiation, we will likely seek additional time before going final on
  our claim selections and charts. This rolling delay is what I was hoping to avoid when I
  wrote you two-and-a-half weeks ago trying to see what defendants' claim and art proposed
  limitations would be.
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  **In any event, Smartflash will be moving for a 2-week extension to serve its 3-1 and 3-2
  materials. Please let me know today whether or not you oppose (note: our request would
  move your 3-3 and 3-4 exchanges by 2 weeks as well). This is the same request I made on
  Friday, when I requested a response on Monday. If we do not hear back from you today on
  this request I made 5 days ago, we will proceed as though you are opposed.** Note that we
  remain happy to engage on the discussion of claim and art limitations, including whether we
  would give you guys a preliminary identification of claims next Monday. But I am not
  willing to further roll towards the deadline without putting a motion on file.

  Thank you.

  -Brad




  From: <Post>, Kevin <Kevin.Post@ropesgray.com>
  Date: Wednesday, November 6, 2013 8:22 AM
  To: Brad Caldwell <bcaldwell@caldwellcc.com>, "smartflash@caldwellcc.com"
  <smartflash@caldwellcc.com>
  Cc: Apple/SmartFlash Service <AppleSmartFlashService@ropesgray.com>, Eric Albritton
  <ema@emafirm.com>, "apple@emafirm.com" <apple@emafirm.com>, "F&RCounsel-
  KingsIsle@fr.com" <F&RCounsel-KingsIsle@fr.com>, "F&RCounsel-GameCircus@fr.com"
  <F&RCounsel-GameCircus@fr.com>, "bkohm@fenwick.com" <bkohm@fenwick.com>,
  "tcorbin@fenwick.com" <tcorbin@fenwick.com>, "SmartFlash QE Team
  (SmartFlashQETeam@quinnemanuel.com)" <SmartFlashQETeam@quinnemanuel.com>,
  "mikejones@potterminton.com" <mikejones@potterminton.com>,
  "allengardner@potterminton.com" <allengardner@potterminton.com>, "HTC-Smartflash-
  Service@perkinscoie.com" <HTC-Smartflash-Service@perkinscoie.com>
  Subject: Smartflash: Request for Extension and Claim Limitation Proposal


  Brad,

  Following up on our discussion earlier this week, I can confirm that Apple is willing to agree to the
  following disclosure deadlines for the parties’ contentions:
                  Date                                            Event
   November 11, 2013                    Smartflash identifies claims asserted against each
                                        defendant by patent and claim number.
   November 25, 2013                    Smartflash complies with P.R. 3-1 and P.R. 3-2
   January 13, 2013                     Defendants provide Smartflash with a list of primary
                                        prior art references that they intend to rely on in their
                                        invalidity contentions for the asserted claims
   January 27, 2013                     Defendants comply with P.R. 3-3 and P.R. 3-4

  As we discussed, while Apple understands that Smartflash may need to make minor adjustments to
  the set of claims asserted in its Nov. 25 contentions as it finalizes its claim charts, Apple reserves its
  right to request additional time for its invalidity contentions if Smartflash makes a significant shift in
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  the claims ultimately asserted on Nov. 25. I understand that the other defendants are considering
  this proposal and I will let them respond with their agreement/comments separately.

  With respect to defendants’ proposal regarding claim limitations, attached please find a draft Order
  Focusing Patent Claims and Prior Art. This proposal (1) includes an “Initial Elections” phase that
  applies at the time the parties submit their contentions; (2) applies the claim and prior art limits to
  all parties collectively in a given case; and (3) increases the per-patent limit for prior art references,
  given the close familial relationship between all asserted patents and the expectation that the set of
  prior art asserted against each patent will be similar. At this point, this draft reflects the input of
  Apple, Game Circus and KingsIsle, and I expect the other defendants will weigh in shortly with their
  own views, if any.

  Once they have done so, please let us know your comments and propose times for a call if you
  would like to discuss.

  Thanks,
  Kevin


  Kevin J. Post
  ROPES & GRAY LLP
  T +1 212 596 9181 | F +1 646 728 1709
  1211 Avenue of the Americas
  New York, NY 10036- 8704
  kevin.post@ropesgray.com
  www.ropesgray.com



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